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                             UNITED STATES OF AMERICA
               U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.,


       Plaintiff,
                                                      Case No. 2:15-cv-10367-AC-MKM

-vs-


ROGER H. WANG, MD.,
doing business as CODER PUBLISHER
and JOHN DOES 1-10,

       Defendants.


         NOTICE OF VOLUNTARY DISMISSAL of ROBERT H. WANG ONLY
                         WITHOUT PREJUDICE

       The Plaintiff dismisses all claims against ROBERT H. WANG only without prejudice and

without costs, sanctions, or attorneys fees.


                                               Respectfully Submitted,

                                               ADAM G. TAUB & ASSOCIATES
                                               CONSUMER LAW GROUP, PLC

                                               By:    s/ Adam G. Taub
                                                      Adam G. Taub (P48703)
                                                      Attorney for Plaintiff
                                                      17200 West 10 Mile Rd. Suite 200
                                                      Southfield, MI 48075
                                                      Phone: (248) 746-3790
                                                      Email: adamgtaub@clgplc.net

Dated: February 9, 2015
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                                     Certificate of Service

       My name is Adam G. Taub and I am an officer of this Court. On February 9, 2015, I served

all parties entitled to notice with the foregoing document via CM/ECF filing to each record email

address.


                                            Respectfully Submitted,

                                            ADAM G. TAUB & ASSOCIATES
                                            CONSUMER LAW GROUP, PLC

                                            By:     /s/ Adam G. Taub
                                                    Adam G. Taub (P48703)
                                                    Attorney for Plaintiff
                                                    17200 West 10 Mile Rd. Suite 200
                                                    Southfield, MI 48075
                                                    Phone: (248) 746-3790
                                                    Email: adamgtaub@clgplc.net

Dated: February 9, 2015
